92 F.3d 1183
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Tony James MARTIN, Defendant-Appellant.
    No. 96-6676.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided Aug. 6, 1996.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Robert D. Potter, Senior District Judge.  (CR-92-36-P, CA-96-21-5-P)
      Charles Edward Parrish, Conway, South Carolina, for Appellant.  Harry Thomas Church, Assistant United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      APPEAL DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion under 28 U.S.C. § 2255 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss on the reasoning of the district court.   United States v. Martin, Nos.  CR-92-36-P;  CA-96-21-5-P (W.D.N.C. Mar. 25, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    